     Case 2:05-cr-00180-LRS    ECF No. 197   filed 07/25/06   PageID.571 Page 1 of 1




 1
 2
 3
 4
 5
 6
 7
 8
                               UNITED STATES DISTRICT COURT
 9                            EASTERN DISTRICT OF WASHINGTON
10
      UNITED STATES OF AMERICA,                 )
11                                              )    No. CR-05-180-LRS-3
                        Plaintiff,              )
12                                              )    ORDER GRANTING UNOPPOSED
      v.                                        )    MOTION TO AMEND
13                                              )
      RICHARD JOHN NOVAK,                       )
14                                              )
                        Defendants.             )
15                                              )

16         BEFORE THE COURT is Defendant’s unopposed Motion to Amend

17   Conditions of Release (Ct. Rec. 195).

18         IT IS ORDERED the unopposed Motion (Ct. Recs. 195) is GRANTED.

19   Defendant’s conditions of release are MODIFIED as follows:

20         1.    The Defendant shall be allowed to travel outside the state

21   of Arizona for work related purposes, with prior notice to the

22   Pretrial Services Office in the District of Arizona.

23         2.    The Defendant shall abide by all other conditions in the

24   court’s order filed November 14, 2005.

25         DATED July 25, 2006.

26
27                                 S/ CYNTHIA IMBROGNO
                              UNITED STATES MAGISTRATE JUDGE
28


     ORDER GRANTING UNOPPOSED MOTION TO AMEND - 1
